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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.




 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.


      ORDER REGARDING EXCHANGING THE IDENTITIES OF THIRD-PARTY
               WITNESSES THAT MAY BE CALLED AT TRIAL

       Upon consideration of the Parties’ Joint Status Report of February 17, 2022, and for good

cause shown, it is hereby ORDERED:

       1.      By February 25, 2022, each of the U.S. Plaintiffs, the Plaintiff States, and Google

shall serve amended initial disclosures in which they list all entities and individuals likely to

have discoverable information that they may use to support their claims or defenses, consistent

with Rule 26(a)(1)(A), and in which they designate with an asterisk the third-party entities and

individuals that are more likely to be called at trial than those that merely meet the Rule 26

standard, based on information known to date;
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         2.     By March 21, 2022, each of the U.S. Plaintiffs, the Plaintiff States, and Google

shall serve further amended initial disclosures in which they list all entities and individuals likely

to have discoverable information that they may use to support their claims or defenses, consistent

with Rule 26(a)(1)(A), and in which they again designate with an asterisk the third-party entities

and individuals that are more likely to be called at trial than those that merely meet the Rule 26

standard, based on information known to date;

         3.     The duty to designate witnesses with an asterisk in good faith applies to each

Party, and each side will designate no more than 40 third-party entities or individuals with

asterisks in each set of disclosures;

         4.     Designations with an asterisk pursuant to this Order will have no preclusive effect

on any Party’s right to call any witness on the disclosures at trial, regardless of designation or

non-designation, and failure to list a witness on the disclosures altogether is not addressed in this

Order;

         5.     Each Party remains subject to the supplementation requirements of Rule 26(e) and

may additionally supplement or amend the designated third-party witnesses designated with an

asterisk;

         6.     The final sentence of paragraph 8 of the Amended Scheduling and Case

Management Order (D.I. 108-1) shall be amended by inserting the following boldfaced language:

“If any person is placed on a witness list (initial or final) by a Party, and has not been deposed in

this litigation, then the other side may obtain documents from the files of that person (unless

already obtained) and depose that person, notwithstanding any limits on discovery elsewhere in

this Order or in the Rules, unless that person was disclosed under FRCP 26(a)(1) and, in the

case of third-party witnesses, timely identified with an asterisk in the Party’s amended



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disclosures, and an opportunity was provided during fact discovery to obtain these documents

and depositions.”
                                                       Amit            Digitally signed
                                                                       by Amit Mehta

                                                       Mehta           Date: 2022.02.19
                                                                       14:58:03 -05'00'
 Dated: February ____, 2022                           _____________________________
                                                             Hon. Amit P. Mehta
                                                       United States District Court Judge




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